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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 5th day of May, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

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